                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PPT RESEARCH, INC.,                  )
                                     )   Civil Action No. 5:20-cv-02645-JLS
           Plaintiff,                )
                                     )
     v.                              )
                                     )   Judge Jeffrey L. Schmehl
SOLVAY USA, INC., d/b/a SOLVAY-      )
RHODIA, SOLVAY, AND SOLVAY USA;      )
and RHODIA OPERATIONS S.A.S. d/b/a   )
RHODIA-SOLVAY, SOLVAY-RHODIA,        )
RHODIA, RHODIA S.A., RHODIA-         )
FRANCE, RHODIA, INC., AND RHODIA     )
GROUP.,                              )
                                     )
           Defendants.
                                     )


  MEMORANDUM OF LAW IN SUPPORT OF SOLVAY USA INC.’S MOTION TO
     COMPEL ARBITRATION AND TO DISMISS THE COMPLAINT, OR
              ALTERNATIVELY, STAY PROCEEDINGS
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       Defendant Solvay USA Inc. (“Solvay”) files this Memorandum of Law in Support of its

Motion to Compel Arbitration and Motion to Dismiss, or Alternatively, Stay Proceedings

pursuant to Sections 3 and 4 of the Federal Arbitration Act, 9 U.S.C. §§ 3, 4, and

Fed.R.Civ.P.12(b)(6).

                                        INTRODUCTION

       This case arises from disputes over two contracts between Plaintiff PPT Research, Inc.

(“PPT”) and Solvay, where both contracts specifically provide for “All disputes” to be settled by

binding arbitration at the International Chamber of Commerce (“ICC Arbitration”). Rather than

abide by its promise to arbitrate disputes, PPT impermissibly sued in this Court. All of PPT’s

claims are arbitrable. PPT’s Complaint confirms that PPT sues on these two contracts (see the

Fourth Cause of Action in PPT’s Complaint at ¶¶ 250–267 claiming breach of the Reciprocal

Confidentiality Agreement and the Technology License Agreement) and other claims all of

which, according to PPT’s Complaint, “arise from a common nucleus of operative fact.” Compl.

at ¶¶ 58, 250–267.

       PPT’s lawsuit alleges (1) breaches of the two contracts—a confidentiality agreement and

a technology license agreement; (2) related claims for trade secret misappropriation based on the

alleged contractual confidentiality obligations; and (3) a related claim for injunctive relief as a

remedy for the alleged misappropriation. All of these claims are “arising out of or in connection

with, the validity, interpretation, performance and/or termination” of the asserted confidentiality

agreement and therefore belong in arbitration (citing the arbitration clause in the parties’

confidentiality agreement). See Declaration of Laurent Thomas (“Thomas Decl.”), Ex. 1 at ¶ 6.2.

In fact, the parties further affirmatively agreed in the arbitration clause that they would arbitrate

“without recourse to the ordinary courts of law.” Id.




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         Regardless of the merits of PPT’s claims or lack thereof, this is not the proper forum for

the parties’ dispute. PPT agreed to broad arbitration provisions in both contracts that plainly

cover its claims here. PPT has no basis to avoid arbitration. PPT cannot avoid arbitration by its

assertion of other related causes of action or by claiming that the arbitration provision is

unconscionable due to the associated costs of arbitration. PPT is bound by the arbitration

provisions which it negotiated and signed.1 This Court should order arbitration of PPT’s claims

and dismiss this action under Fed.R.Civ.P.12(b)(6) for failure to state a claim. In the alternative,

this Court should order arbitration of PPT’s claims and stay proceedings pending the completion

of arbitration.

             BACKGROUND TO THE PARTIES’ ARBITRATION AGREEMENTS

         Solvay is a global leader in materials, chemicals and solutions for a wide range of

industries including automotive, aerospace, electronics, and healthcare, among others. Solvay is

involved in the development, production and sale of various chemicals and polymers that relate

to the development of silicon wafers. PPT represented itself as a manufacturer of an LVS micro-

gel particle slurry suspension system (“LVS technology”) used in the process of cutting solar

wafers, which, in turn, are used to manufacture solar cells for solar panels.

         In order to explore the possibility of PPT’s LVS technology, Rhodia Operations S.A.S.

(“Rhodia”) and PPT entered into a Reciprocal Confidentiality Agreement (“RCA”) in June 2014.

Compl. at ¶ 89; Thomas Decl., Ex. 1 at page 1.2 The parties amended the RCA in August 2014

(“RCA Amendment”) to include Solvay USA Inc. Compl. at ¶ 90; see Thomas Decl., Ex. 2 at


         1
           Solvay has its own claims against PPT which it properly asserted in a Request for Arbitration filed at the
International Chamber of Commerce International Court of Arbitration. A copy of that Request for Arbitration is
attached to the Declaration of Randall E. Kay as Ex. 1.
         2
            The RCA is referenced in the Complaint at ¶ 89, so this Court may properly consider it at this stage. See
e.g. Leboon v. Zurich Am. Ins. Co., 673 F. App’x 173, 176 (3d Cir. 2016) (“[T]he Court may consider a document
explicitly relied upon in the complaint without converting the motion to dismiss to a summary judgment motion.”).


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page 1.3 The RCA and RCA Amendment established the terms by which PPT, Rhodia and

Solvay would exchange certain information and samples. See Thomas Decl., Ex. 1 at § B.

        The RCA broadly stated in pertinent part that: “[a]ll disputes arising out of, or in

connection with, the validity, interpretation, performance and/or termination of this Agreement,

which cannot be amicably settled between the parties, shall be finally settled under the

Arbitration Rules by one or more arbitrators appointed in accordance with such Arbitration Rules

without recourse to the ordinary courts of law.” Thomas Decl., Ex. 1 at § 6.2.

        Soon thereafter, based on PPT’s representations regarding the commercial readiness of its

LVS technology, Solvay and PPT entered into a Technology License Agreement (“TLA”),

effective February 20, 2015. Compl. at ¶¶ 104–05; see Thomas Decl., Ex. 3 at page 1.4 The

purpose of the TLA was to permit Solvay to market the LVS technology in China and Korea,

with other territories to be added later. See Thomas Decl., Ex. 3 at § 1. The parties then

amended the TLA in April 2016 (“TLA Amendment”). Compl. at ¶ 143; see also Thomas Decl.,

Ex. 4 at page 1.5 The TLA also has a broad, binding arbitration agreement, providing in

pertinent part: “[a]ll disputes arising in connection with this Agreement and which cannot be

settled amicably shall be settled by arbitration in accordance with the Rules of Arbitration of the

International Chamber of Commerce (ICC).” Thomas Decl., Ex. 3 at § 11(b).

        In order to allow Solvay to benefit from the license grant under the TLA, PPT agreed to

provide a “Technology Package” within 30 days of execution of the agreement that was required

to include information regarding the LVS technology, including final “ready-to-use” product


        3
            The RCA Amendment is referenced in the Complaint at ¶ 90, so this Court may properly consider it at
this stage. See e.g. Leboon v. Zurich Am. Ins. Co., 673 F. App’x 173, 176 (3d Cir. 2016).
        4
           The TLA is referenced in the Complaint at ¶¶ 104–05, so this Court may properly consider it at this stage.
See e.g. Leboon v. Zurich Am. Ins. Co., 673 F. App’x 173, 176 (3d Cir. 2016).
          5
            The TLA Amendment is referenced in the Complaint at ¶ 143, so this Court may properly consider it at
this stage. See e.g. Leboon v. Zurich Am. Ins. Co., 673 F. App’x 173, 176 (3d Cir. 2016).


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information. Thomas Decl., Ex. 3 at §§ 1, 3(a). Solvay learned shortly after that PPT had not

actually developed the necessary technology to make the licensed LVS technology commercially

viable. As a result, Solvay had to begin independent development work to develop a novel

solution in order to produce LVS technology that could be marketed and sold, and subsequently

filed for patent protection on its innovations. After lengthy communications between the parties

over PPT’s failure to perform its contractual obligations, Solvay gave notice to PPT in 2017 that

PPT was in material breach of the TLA.

         In its lawsuit, PPT alleges that Solvay breached the RCA and the TLA through Solvay’s

own development of technology and Solvay’s filing of a patent application that allegedly

disclosed PPT’s confidential proprietary trade secret information. See Compl. at ¶¶ 217–19 and

222–23. In filing this Complaint, PPT ignored the clear arbitration agreements expressly set

forth in the RCA and TLA. PPT’s Complaint is silent regarding its disregard for the arbitration

clauses and PPT’s agreement to arbitrate. Nowhere does PPT’s Complaint contend that the

arbitration clauses are unenforceable or unconscionable.6 Because PPT cannot avoid the terms

of its arbitration agreements, Solvay moves to compel arbitration and dismiss the Complaint, or

in the alternative, compel arbitration and stay proceedings pending conclusion of arbitration.

                                                   ARGUMENT

I.       The FAA Applies To This Dispute

         The Federal Arbitration Act (“FAA”) governs the enforceability of the arbitration

agreements in this case. The FAA broadly provides that: “A written provision in . . . a contract



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            In meet and confer discussions among counsel, PPT’s litigation counsel takes the position that the
expense of arbitration should exempt PPT from abiding by its contractual commitment to arbitrate. PPT did not
deny that the arbitration provisions covered the scope of the dispute, but instead argued that it should not be subject
to arbitration provisions because of the associated costs and the injunctive relief remedy which it prefers be in court.
Neither of these explanations overcomes the requirement in the Federal Arbitration Act that the parties abide by
their contractual arbitration agreement.


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evidencing a transaction involving commerce to settle by arbitration . . . shall be valid,

irrevocable, and enforceable, save upon such grounds as exist at law or in equity for the

revocation of any contract.” 9 U.S.C. § 2; see also Gilmer v. Interstate/Johnson Lane Corp., 500

U.S. 20, 24–26 (1991).

       The United States Supreme Court has made clear that the FAA “manifest[s] a ‘liberal

federal policy favoring arbitration[.]’” Gilmer, 500 U.S. at 20 (internal citations omitted); see

also AT&T Mobility LLC v. Concepcion, 131 S. Ct. 1740, 1745 (2011) (reaffirming the “‘liberal

federal policy favoring arbitration’”). The FAA “establishes a strong policy in favor of

compelling arbitration over litigation.” Sandvik AB v. Advent Int’l Corp., 220 F.3d 99, 104 (3d

Cir. 2000). Arbitration agreements falling within the scope of the FAA “must be ‘rigorously

enforce[d].’” Perry v. Thomas, 482 U.S. 483, 490 (1987).

       The FAA applies to any dispute in state or federal court concerning a contract evidencing

a transaction involving commerce. The FAA is broadly construed as to the types of agreements

included in its reach. As the United States Supreme Court has stated,

       we have interpreted the term “involving commerce” in the FAA as the functional
       equivalent of the more familiar term “affecting commerce”—words of art that
       ordinarily signal the broadest permissible exercise of Congress’ Commerce
       Clause power. . . . Because the statute provides for “the enforcement of arbitration
       agreements within the full reach of the Commerce Clause[]” . . . it is perfectly
       clear that the FAA encompasses a wider range of transactions than those actually
       “in commerce”—that is, “within the flow of interstate commerce[.]”

Citizens Bank v. Alafabco, Inc., 539 U.S. 52, 56 (2003). Here, the FAA applies to the RCA and

TLA. Further, PPT’s claims arise out of contracts between PPT (of Pennsylvania), Solvay (with

its principal place of business in New Jersey), and Rhodia Operations S.A.S. (alleged to be a

foreign corporation). Compl. at ¶¶ 55–57, 89–90, 104. Thus, the RCA and TLA are contracts

“involving commerce” subject to the FAA.




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II.    This Court Should Compel Arbitration

       Under the FAA, the party seeking to compel arbitration has the initial burden to establish

that: (1) there is a valid arbitration agreement; and (2) the claim asserted falls within the

arbitration agreement’s scope. Invista S.A.R.L. v. Rhodia S.A., 625 F.3d 75, 84 (3d. Cir. 2010).

If an arbitration agreement is present, the claims are encompassed by the agreement, and the

party opposing arbitration fails to prove any defense to enforcement, the trial court has no

discretion but to compel arbitration. See Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 218

(1985) (“By its terms, the [FAA] leaves no place for the exercise of discretion by a district court,

but instead mandates that district courts shall direct the parties to proceed to arbitration[.]”).

“The court shall hear the parties, and upon being satisfied that the making of the agreement for

arbitration or the failure to comply therewith is not in issue, the court shall make an order

directing the parties to proceed to arbitration in accordance with the terms of the agreement.”

9 U.S.C. § 4.

       A.       PPT And Solvay Entered Into Valid, Written Agreements To Arbitrate

       Effective June 9, 2014, and amended August 12, 2014, PPT executed the RCA and RCA

Amendment agreements, respectively. Thomas Decl., Ex. 1 at § C, Ex. 2 at page 1. Through

these agreements, PPT agreed that “[a]ll disputes arising out of, or in connection with, the

validity, interpretation, performance and/or termination of” the RCA and RCA Amendment must

be settled in binding arbitration, “without recourse to the ordinary courts of law.” See Thomas

Decl., Ex. 1 at § 6.2. The RCA also provides that the governing law must be Delaware

(excluding conflict of law principles), arbitration rules would be governed by The Rules of

Arbitration of the International Chamber of Commerce, and the arbitration would take place in

Delaware. Thomas Decl., Ex. 1 at § C. In its Complaint, PPT acknowledged these agreements




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numerous times and did not dispute their validity. The RCA constitutes a valid, written

agreement between the parties to arbitrate this dispute.

       B.      The Arbitration Provisions Are Not Unconscionable

       To the extent PPT may seek to avoid arbitration by claiming that the RCA’s and TLA’s

arbitration provisions are unconscionable, that argument cannot prevail. “Under Pennsylvania

law, there must be both procedural and substantive unconscionability in order to void an

arbitration provision or a contract in general.” Clerk v. First Bank of Del., 735 F. Supp. 2d 170,

181 (E.D. Pa. 2010) (citing Harris v. Green Tree Fin. Corp., 183 F.3d 173, 181 (3d Cir. 1999));

see also Pig Imp. Co. v. Middle States Holding Co., 943 F. Supp. 392, 402 (D. Del. 1996) (noting

that a party seeking to void a contract clause as unconscionable has the burden of demonstrating

procedural/substantive unconscionability). ‘“Procedural unconscionability’ describes the process

by which the parties entered into the contract[]” and has been defined “by the Pennsylvania

Supreme Court to mean the ‘absence of meaningful choice on the part of one of the parties.’” Id.

(citing Witmer v. Exxon Corp., 495 Pa. 540, 551 (1981)). “‘Substantive unconscionability’ is

found where the terms of an arbitration provision or contract ‘unreasonably favor’ the party with

the greater bargaining power.” Clerk, 735 F. Supp. 2d at 181 (citing Witmer, 495 Pa. at 551).

       The RCA’s arbitration provision is neither procedurally nor substantively

unconscionable. First, with respect to the former, the arbitration provision was not part of a

contract of adhesion such that the provision would be procedurally unconscionable. PPT is an

incorporated entity with an established place of business in Pennsylvania. Compl. at ¶ 55. More

importantly, it was PPT who dictated the terms of the TLA arbitration provision, not Solvay. See

Declaration of Eric Aubay (“Aubay Decl.”) at ¶¶ 4–5. The original draft of the TLA arbitration

provision stated that “[t]he place of arbitration shall be New York” and that “[t]he arbitral

tribunal shall apply the state laws of the State of New York[,]” but PPT requested that this be

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changed to Pennsylvania, and Solvay agreed. Id. Further, PPT had representation of legal

counsel for the drafting of the TLA agreement and TLA arbitration provision. PPT’s President

and CEO Chip Ward stated to Solvay that PPT needed to have its own attorneys review the TLA

before PPT could finalize and sign it. See Aubay Decl. at ¶ 6. Clearly, PPT’s entering into the

arbitration provisions was not with a lack of meaningful choice. PPT was not only represented

by counsel, but it directed the arbitration terms.

       Second, the RCA’s arbitration provision does not “unreasonably favor” a party with

greater bargaining power. Solvay does not hold greater bargaining power, but even if it did, the

terms of the RCA arbitration provision are still indisputably bilateral. These terms require that

both PPT and Solvay submit their claims to arbitration. The first page of the RCA also states

that one of the RCA’s purposes is for both companies to assess “their interest to enter into a

further agreement related to a collaboration between both companies.” Thomas Decl., Ex. 1 at

§ C. The RCA does not contain many terms—it merely set the stage for PPT and Solvay to

exchange certain information and samples that could help foster a future collaboration and

relationship. And just because parties to arbitration incur fees does not negate the fact that PPT

and Solvay—both incorporated companies with legal counsel—entered into a valid, enforceable

arbitration agreement. Since the arbitration provision does not unreasonably favor a party with

greater bargaining power (nor does either party even have greater bargaining power), the

arbitration provision is not substantively unconscionable.

       C.      The Dispute Falls Within The Scope Of The Arbitration Agreement

       In addition to constituting a valid agreement to arbitrate, the RCA’s arbitration provision

encompasses PPT’s claims here. As an initial matter, the wording of the arbitration provision is

of the broadest nature. The provision states that “[a]ll disputes arising out of, or in connection

with, the validity, interpretation, performance and/or termination of this Agreement, which

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cannot be amicably settled between the parties, shall be finally settled under the Arbitration

Rules by one or more arbitrators appointed in accordance with such Arbitration Rules without

recourse to the ordinary courts of law.” Thomas Decl., Ex. 1 at § 6.2 (emphasis added). The

United States Supreme Court has held that the presumption in favor of arbitration is even

stronger when the arbitration provision is written broadly, as here. AT&T Techs., Inc. v.

Commc’ns Workers of America, 475 U.S. 643, 650 (1986) (finding a provision requiring

arbitration for “any differences” is sufficiently broad to fall within the presumption); see also

Goodwin v. Elkins & Co., 730 F.2d 99, 110–11 (3d Cir. 1984) (finding that the phrase “any

controversy” is certainly broad and expansive); Renfrew Centers, Inc. v. UNI/CARE Systems

Inc., 920 F. Supp. 2d 572, 574 (E.D. Pa. 2013) (noting that “the quintessential broad arbitration

provision [is one] that directs to arbitration any controversy or claim ‘arising out of” or ‘related

to’ the agreement.”).

        PPT’s claims fall squarely within the scope of the arbitration agreement. PPT agreed to

arbitrate “[a]ll disputes arising out of, or in connection with, the validity, interpretation,

performance and/or termination of this Agreement.” Thomas Decl., Ex. 1 at § 6.2. This case not

only “arises out of” or is “in connection with” the RCA, but the RCA is central to PPT’s claims.

All four of PPT’s causes of action in its Complaint stem from or rely on the RCA and Solvay’s

alleged breach of confidentiality under the RCA. PPT’s first cause of action (“COA”) alleges the

misappropriation of trade secrets under the federal Defend Trade Secrets Act of 2016, and states

that PPT “provided its trade secret information to Solvay under strict confidentiality and non-

disclosure restrictions as included in . . . the Reciprocal Confidentiality Agreement” and that

Solvay “used the confidential proprietary trade secret information . . . to misappropriate said

trade secrets.” Compl. at ¶¶ 217–218. PPT’s second COA similarly alleges misappropriation of




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trade secrets, under Pennsylvania law, and similarly discusses the RCA. Compl. at ¶¶ 232–233.

PPT’s third COA requests injunctive relief as a remedy to protect against the RCA’s June 2020

expiration. Compl. at ¶ 246. Finally, PPT’s fourth COA alleges breach of contract under the

RCA and the TLA due to Solvay’s alleged failure to return all of PPT’s confidential proprietary

trade secret information and divulging of PPT’s confidential proprietary trade secret information

to a patent office. Compl. at ¶¶ 251–254.

       Should PPT argue that its claims do not fall within the scope of the arbitration

agreements because of the claim for injunctive relief, that argument cannot prevail. The RCA’s

arbitration provision does not require that injunctive relief be sought in this Court but only says

that it is an option “to the extent the same [is] not available in arbitration.” Thomas Decl., Ex. 1

at § 6.2. Here though, injunctive relief is available in arbitration. See, e.g., 2017 ICC Arbitration

Rules, Art. 29; Declaration of Randall E. Kay (“Kay Decl.”), Ex. 2 at Art. 29. Such relief can be

granted by an ICC arbitrator, either on an emergency or permanent basis. See, e.g., 2017 ICC

Arbitration Rules, Art. 29; Kay Decl., Ex. 2 at Art. 29; Liv Hidravlika D.O.O. v. S.A. Diebolt,

No. 05-10577, 1, 4 (Paris Ct. App. Feb. 28, 2008) (ordering, in ICC arbitration, that the

respondent be prohibited from practicing a patent during the remainder of a contract without

authorization from the claimant). Additionally, the trade secret misappropriation claims should

be adjudicated in arbitration before any claim for an injunctive remedy is even up for

consideration. And should PPT’s claim for injunctive relief be allowed in this Court—which it

should not for the reasons set forth above—this would needlessly stretch PPT’s breach of

contract, trade secret misappropriation, and injunctive relief claims across two venues when all

such claims could have been, and were supposed to have been, heard in arbitration.




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        D.      Arbitrability Has Expressly Been Delegated To The Arbitrator

        PPT and Solvay have already agreed to settle any question of arbitrability of disputes

before an arbitrator. Thomas Decl., Ex. 1 at § 6.2. Specifically, the RCA arbitration provision

says that “[a]ll disputes arising out of, or in connection with, the validity . . . of this Agreement . .

. shall be finally settled under the Arbitration Rules . . . without recourse to the ordinary courts of

law[,]” where the Arbitration Rules are The Rules of Arbitration of the International Chamber of

Commerce. Thomas Decl., Ex. 1 at §§ C, 6.2; see also Richardson v. Coverall N. Am., Inc., No.

18-3393, 2020 WL 2028523, at *2 (3d Cir. Apr. 28, 2020) (holding that the issue of arbitrability

was to be decided in arbitration, not court, where the parties’ agreement said ‘“all controversies,

disputes or claims . . . shall be submitted promptly for arbitration”’ and that ‘“[a]rbitration shall

be subject to … the then current Rules of the American Arbitration Association for Commercial

Arbitration.”). Further, the United States Supreme Court recently explained:

        [w]hen the parties’ contract delegates the arbitrability question to an arbitrator, a

        court may not override the contract. In those circumstances a court possesses no

        power to decide the arbitrability issue. That is true even if the court thinks that the

        argument that the arbitration agreement applies to a particular dispute is wholly

        groundless.

Henry Schein, Inc. v. Archer & White Sales, Inc., 139 S. Ct. 524, 529 (2019). The ICC

Arbitration Rules similarly explain:

        [i]n all matters decided by the Court under Article 6(4), any decision as to the

        jurisdiction of the arbitral tribunal, except as to parties or claims with respect to

        which the Court decides that the arbitration cannot proceed, shall then be taken by

        the arbitral tribunal itself.




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2017 ICC Arbitration Rules, Art. 6(5); Kay Decl., Ex. 2 at Art. 6(5). To the extent questions

exist about the arbitrability of PPT’s claims, that issue must be raised before an ICC arbitrator.

III.   This Lawsuit Should Be Dismissed, Or Alternatively, Stayed Pending The
       Conclusion Of Arbitration

       A.      PPT’s Complaint Must Be Dismissed

       As PPT’s claims are subject to arbitration, the Complaint must be dismissed pursuant to

Fed.R.Civ.P.12(b)(6). Under Third Circuit law, “when it is apparent on the face of the

Complaint, and documents relied upon in the Complaint, that certain of a party’s claims are

subject to an enforceable arbitration clause, a motion to compel arbitration should be considered

under a Rule 12(b)(6) standard without discovery’s delay.” Guidotti v. Legal Helpers Debt

Resolution, LLC, 716 F.3d 764, 776 (3d Cir. 2013). If all the claims involved in an action are

arbitrable, a court may dismiss the action outright instead of staying it pending arbitration. Seus

v. John Nuveen & Co., 146 F.3d 175, 179 (3d Cir. 1998), citing Dancu v. Coopers & Lybrand,

778 F. Supp. 832, 835 (E.D. Pa. 1991), aff'd, 972 F.2d 1330 (3d Cir. 1992).

       PPT’s claims, as described above, clearly fall within the scope of the arbitration

provisions in the RCA and TLA. To the extent PPT seeks injunctive relief, the RCA’s

arbitration provision does not require that injunctive relief be sought in this Court but only says

that it is an option “to the extent the same [is] not available in arbitration.” Thomas Decl., Ex. 1

at § 6.2. Here though, such relief can be granted by an ICC arbitrator, either on an emergency or

permanent basis. See, e.g., 2017 ICC Arbitration Rules, Art. 29; Kay Decl., Ex. 2 at Art. 29; Liv

Hidravlika D.O.O. v. S.A. Diebolt, No. 05-10577, 1, 4 (Paris Ct. App. Feb. 28, 2008) (ordering,

in ICC arbitration, that the respondent be prohibited from practicing a patent during the

remainder of a contract without authorization from the claimant). This is especially true in this

circumstance, where any issue of arbitrability has been delegated to an arbitrator under the ICC



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rules. See Thomas Decl., Ex. 1 at § 6.2. And should PPT’s claim for injunctive relief be allowed

in this Court—which it should not for the reasons set forth above—this would needlessly stretch

PPT’s breach of contract, trade secret misappropriation, and injunctive relief claims across two

venues when all such claims could have been, and were supposed to have been, heard in

arbitration. Accordingly, PPT’s Complaint should be dismissed.

       B.      In The Alternative, PPT’s Complaint Must Be Stayed Pending The Outcome
               Of Arbitration

       In the alternative to dismissal of this case under governing Third Circuit law as set forth

above, this case should be stayed pending arbitration. Section 3 of the FAA provides that where

a valid arbitration agreement requires a dispute to be submitted to a binding arbitration, the

district court must stay the action “until such arbitration has been had in accordance with the

terms of the agreement, providing the applicant for the stay is not in default in proceeding with

such arbitration.” 9 U.S.C. § 3. As this entire action falls within the scope of the parties’

arbitration agreements in the RCA and TLA, this Court should stay the case pending arbitration

at a minimum, if the case is not dismissed.

                                         CONCLUSION

       For the reasons set forth herein, Solvay respectfully requests that this Court enter an

Order compelling arbitration of PPT’s claims, and dismissing the litigation pursuant to 9 U.S.C.

§§ 3–4 and Fed.R.Civ.P.12(b)(6).




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Dated: July 2, 2020     Respectfully submitted,



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